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Hi my name is C          P      I’m 15 years old in 8th grade. Im writing this letter for Jason Desimas, my
dad. See he is not my father but he is the only man like a dad to me. Before he was my dad I was a bad
kid. I always got in trouble and hated school and did not like myself. I always got kicked out of school
and made my mom life hard. Then my dad Jason moved in to his shop in front of are apartment. I never
had a dad before him he is my only dad. He said stay in school get good grades and play football. I have
not got kick out of school again last year I tried out football and got good grades. My dad gave me my
first job and paid me. I clean out the shop at night for my first job. Right now I am getting all As and I
have not be absent at all this year. Me and my dad also go to the gym to work out so I look good for the
ladies. I love my dad very much and asking please to take it easy on him everybody makes mistakes and
he has loved me like a real dad. I need my dad.




C       P
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From:
To:              Sara Brin
Subject:         Jason desimess
Date:            Friday, December 18, 2020 6:53:51 PM


Hi my name's Mike and I have worked with jason for 3 years now and gotten to know him on
a personal level. He is a really good person and has helped my family and I alot. He is not a
mean or hateful person. If he goes to jail and the tattoo shop closes I will be out of the only job
that I have been successful at in years. I am the main bread winner in my family and with out
the shop my family will suffer greatly. Thank you for taking the time to read this.
